          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                    Desc: Main
                                    Document Page 1 of 26




 Fill in this information to identify the case:

 Debtor name         COLONIAL MEDICAL MANAGEMENT CORP

 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number (if known)         20-01495
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 26, 2020                          X /s/ LUIS JORGE LUGO VELEZ
                                                                       Signature of individual signing on behalf of debtor

                                                                       LUIS JORGE LUGO VELEZ
                                                                       Printed name

                                                                       PRESIDENT
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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           Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                                                         Desc: Main
                                     Document Page 2 of 26
 Fill in this information to identify the case:

 Debtor name            COLONIAL MEDICAL MANAGEMENT CORP

 United States Bankruptcy Court for the:                       DISTRICT OF PUERTO RICO

 Case number (if known)               20-01495
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           206,161.50

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           206,161.50


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,370,554.51


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,370,554.51




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
           Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                         Desc: Main
                                     Document Page 3 of 26
 Fill in this information to identify the case:

 Debtor name         COLONIAL MEDICAL MANAGEMENT CORP

 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number (if known)         20-01495
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                                                                            DIP TAX ACCOUNT
           3.1.     BANCO POPULAR                                           OPERATIONS                      3107                                     $1,094.00



                                                                            DIP - OPERATIONAL
           3.2.     BANCO POPULAR                                           ACCOUNT                         3514                                             $0.00



                                                                            DIP - PAYROLL
           3.3.     BANCO POPULAR                                           ACCOUNT                         1740                                         $67.50



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $1,161.50
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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           Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                 Desc: Main
                                     Document Page 4 of 26
 Debtor         COLONIAL MEDICAL MANAGEMENT CORP                                             Case number (If known) 20-01495
                Name


        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                  Desc: Main
                                    Document Page 5 of 26
 Debtor         COLONIAL MEDICAL MANAGEMENT CORP                                             Case number (If known) 20-01495
                Name

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)
           TAX REFUNDS ACCUMULATED FOR YEAR 2019 -
           ESTIMATED (UNTIL 2018 WAS $201,377 PLUS
           ESTIMATED $4,000 ADDITIONAL FOR YEAR 2019)                                          Tax year 2019                            $205,000.00



 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                         $205,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                              Desc: Main
                                    Document Page 6 of 26
 Debtor          COLONIAL MEDICAL MANAGEMENT CORP                                                                    Case number (If known) 20-01495
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,161.50

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $205,000.00

 91. Total. Add lines 80 through 90 for each column                                                            $206,161.50           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $206,161.50




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                     Desc: Main
                                    Document Page 7 of 26
 Fill in this information to identify the case:

 Debtor name         COLONIAL MEDICAL MANAGEMENT CORP

 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number (if known)         20-01495
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
           Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                     Desc: Main
                                     Document Page 8 of 26
 Fill in this information to identify the case:

 Debtor name         COLONIAL MEDICAL MANAGEMENT CORP

 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number (if known)           20-01495
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,388.00
           ADVANCE RADIOLOGY                                                    Contingent
           PO BOX 4129                                                          Unliquidated
           Mayaguez, PR 00681                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      C509
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,174.00
           AIREL LUIS TORRES RIVERA                                             Contingent
           PO BOX 1415                                                          Unliquidated
           Sabana Grande, PR 00637                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    PROFESIONAL SERVICES
           Last 4 digits of account number      R711
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $10,000.00
           ALLIED COMPUTER SERVICES INC.                                        Contingent
           PO BOX 3320                                                          Unliquidated
           Caguas, PR 00726-3320                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
           Last 4 digits of account number      S521
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $26,959.00
           BECKMAN COULTER PUERTO RICO INC.                                     Contingent
           PO BOX 742075                                                        Unliquidated
           Atlanta, GA 30384                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    MATERIALS
           Last 4 digits of account number      C616
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 8
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                      Desc: Main
                                    Document Page 9 of 26
 Debtor       COLONIAL MEDICAL MANAGEMENT CORP                                                        Case number (if known)            20-01495
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,190.00
          BERNARDO MALAGA COLLAZO MD                                            Contingent
          HC1 BOX 4539                                                          Unliquidated
          Rincon, PR 00677                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PROFESSIONAL SERVICES
          Last 4 digits of account number       1948
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,780.00
          CARLA VANESSA CASTRO MD                                               Contingent
          37 BELLA VISTA GARDENS                                                Unliquidated
          Mayaguez, PR 00680                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PROFESSIONAL SERVICES
          Last 4 digits of account number       1521
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,780.00
          CARLOS QUINTANA SANTIAGO                                              Contingent
          BO. ALGARROBO                                                         Unliquidated
          604 CARR 104                                                          Disputed
          Mayaguez, PR 00682
                                                                             Basis for the claim:    PROFESSIONAL SERVICES
          Date(s) debt was incurred
          Last 4 digits of account number       1106                         Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,428.30
          CLARO                                                                 Contingent
          PO BOX 70366                                                          Unliquidated
          San Juan, PR 00936-8366                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number       5001
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $925.00
          CLINICAL DIAGNOSTICS OF PR LLC                                        Contingent
          PMB 590                                                               Unliquidated
          PO BOX 29029                                                          Disputed
          San Juan, PR 00929
                                                                             Basis for the claim:    SERVICES
          Date(s) debt was incurred
          Last 4 digits of account number       1281                         Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,000.00
          DEPARTAMENTO DEL TRABAJO                                              Contingent
          NEGOCIADO SEGURIDAD DE EMPLEO                                         Unliquidated
          AVE. MUNOZ RIVERA 505
                                                                                Disputed
          San Juan, PR 00919
          Date(s) debt was incurred
                                                                             Basis for the claim:    LABOR -ESTIMATED
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,559.34
          DIAGNOSTIC IMAGING SUPPLIES & SERV                                    Contingent
          PO BOX 11923                                                          Unliquidated
          San Juan, PR 00922                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       1126
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 8
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                      Desc: Main
                                    Document Page 10 of 26
 Debtor       COLONIAL MEDICAL MANAGEMENT CORP                                                        Case number (if known)            20-01495
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $349.42
          DOCUMENT MANAGEMENT SOLUTIONS                                         Contingent
          LA CUMBRE 273 SIERRA MORENA                                           Unliquidated
          PMB 132                                                               Disputed
          San Juan, PR 00926
                                                                             Basis for the claim:    SERVICES
          Date(s) debt was incurred
          Last 4 digits of account number       6029                         Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,259.00
          ER PROFESSIONAL SERVICES CORP                                         Contingent
          HC 03 BOX 30384                                                       Unliquidated
          Aguadilla, PR 00603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       1528
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,505.71
          GUMEDIC HOSPITAL SUPPLIES                                             Contingent
          HC-7 BOX 25200                                                        Unliquidated
          Mayaguez, PR 00680                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number       D519
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          HENRY SUAREZ RAMOS P/C                                                Contingent
          LCDO EITON ARROYO MUNIZ                                               Unliquidated
          00681
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    ALLEGED MALPRACTICE IS DISPUTED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,017.78
          HOSPIRA PUERTO RICO LLC                                               Contingent
          PO BOX 71365                                                          Unliquidated
          San Juan, PR 00936                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number       P518
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,252.17
          IMAGE FIRST                                                           Contingent
          PO BOX 371325                                                         Unliquidated
          Cayey, PR 00737                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       1327
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $152,000.00
          JORGE ANGLERO ALFARO                                                  Contingent
          URB CONSTANCIA                                                        Unliquidated
          AVE LAS AMERICAS 2746                                                 Disputed
          Ponce, PR 00717
                                                                             Basis for the claim:    MONEY LOAN TO CORPORATION FROM INVESTOR
          Date(s) debt was incurred 2012
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 8
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                      Desc: Main
                                    Document Page 11 of 26
 Debtor       COLONIAL MEDICAL MANAGEMENT CORP                                                        Case number (if known)            20-01495
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $634.38
          KELVIN MARTEL GONZALEZ                                                Contingent
          PO BOX 937                                                            Unliquidated
          Anasco, PR 00610                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       G953
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,278.00
          KIARA DENISE NORIEGA SOTO                                             Contingent
          HC 58 BOX 13584                                                       Unliquidated
          BO. ATAYALA                                                           Disputed
          Aguada, PR 00602
                                                                             Basis for the claim:    SERVICES
          Date(s) debt was incurred
          Last 4 digits of account number       S707                         Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,848.00
          LAB CARE INSTRUMENTS CORP                                             Contingent
          PMB 738                                                               Unliquidated
          WINSTON CHURCHILL AVE 138                                             Disputed
          San Juan, PR 00928
                                                                             Basis for the claim:    SUPPLIES
          Date(s) debt was incurred
          Last 4 digits of account number       1190                         Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,776.61
          LABORATORIO M LANDRON                                                 Contingent
          CALLE JJ ACOSTA 46                                                    Unliquidated
          Vega Baja, PR 00693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       L500
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,140.00
          LABTECH SOLUTIONS CORP                                                Contingent
          STREET 11 URB MONTE CARLO                                             Unliquidated
          NUM. 1290                                                             Disputed
          San Juan, PR 00924
                                                                             Basis for the claim:    SUPPLIES
          Date(s) debt was incurred
          Last 4 digits of account number       1290                         Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,900.00
          LCDA DAMARIS QUINONES VARGAS                                          Contingent
          PO BOX 429                                                            Unliquidated
          Cabo Rojo, PR 00623                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       0207
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $731.25
          LIZMARIE VEGA CHAPARRO                                                Contingent
          RR 01 BOX 2396                                                        Unliquidated
          Anasco, PR 00610                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       0038
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 8
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                      Desc: Main
                                    Document Page 12 of 26
 Debtor       COLONIAL MEDICAL MANAGEMENT CORP                                                        Case number (if known)            20-01495
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $251,638.88
          LUIS LUGO VELEZ MD                                                    Contingent
          PO BOX 712                                                            Unliquidated
          Mercedita, PR 00715                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CAPITAL
          Last 4 digits of account number       1781
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,120.00
          LUZ N RODRIGUEZ MERCADO MD                                            Contingent
          HC 02 6216                                                            Unliquidated
          Guayanilla, PR 00656                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       1280
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $596.52
          MAN SCIENCES GROUP                                                    Contingent
          PO BOX 3876                                                           Unliquidated
          Carolina, PR 00984                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       G710
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,101.52
          MEDICAL & VACCINE PRODUCTS INC                                        Contingent
          DBA DE VICTORIA MEDICAL                                               Unliquidated
          PO BOX 7468                                                           Disputed
          Caguas, PR 00726
                                                                             Basis for the claim:    SUPPLIES
          Date(s) debt was incurred
          Last 4 digits of account number       P511                         Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,550.00
          MEDIX CORP                                                            Contingent
          PO BOX 363                                                            Unliquidated
          Mercedita, PR 00715                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       C765
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $659,399.99
          MUNICIPIO DE ANASCO                                                   Contingent
          PO BOX 1385                                                           Unliquidated
          Anasco, PR 00610-1385
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MEDICAL FACILITIES LEASE
          Last 4 digits of account number       A893
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,501.86
          NYPRO MEDICAL OF PR                                                   Contingent
          PO BOX 810263                                                         Unliquidated
          Carolina, PR 00983                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number       P517
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 8
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                      Desc: Main
                                    Document Page 13 of 26
 Debtor       COLONIAL MEDICAL MANAGEMENT CORP                                                        Case number (if known)            20-01495
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $152,000.00
          ORIENTAL BANK                                                         Contingent
          PO BOX 364745                                                         Unliquidated
          San Juan, PR 00936-4745                                               Disputed
          Date(s) debt was incurred 6/29/2012
                                                                             Basis for the claim:    LOAN USED FOR INVESTMENT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $549.83
          PHARMA MEDICAL DISTRIBUTORS CORP                                      Contingent
          PO BOX 2087                                                           Unliquidated
          Coamo, PR 00769                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       D756
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,120.00
          RICARDO MACHADO TORRES MD                                             Contingent
          PO BOX 619                                                            Unliquidated
          Anasco, PR 00610                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PROFESSIONAL SERVICES
          Last 4 digits of account number       T951
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,895.00
          SABIAMED                                                              Contingent
          PO BOX 6150                                                           Unliquidated
          Caguas, PR 00726                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SERVICES
          Last 4 digits of account number       M719
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,303.00
          SUR COPY INC                                                          Contingent
          EXTE SANTA TERESITA                                                   Unliquidated
          AVE EMILIO FAGOT 3237                                                 Disputed
          Ponce, PR 00730-4642
                                                                             Basis for the claim:    SERVICES
          Date(s) debt was incurred
          Last 4 digits of account number       I516                         Is the claim subject to offset?     No       Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,139.85
          UMECO, INC.                                                           Contingent
          PO BOX 195536                                                         Unliquidated
          San Juan, PR 00919                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number       C514
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,838.71
          UNIVERSAL CARE CORP                                                   Contingent
          PO BOX 1051                                                           Unliquidated
          Sabana Seca, PR 00952                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number       1051
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 8
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           Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                     Desc: Main
                                     Document Page 14 of 26
 Debtor       COLONIAL MEDICAL MANAGEMENT CORP                                                        Case number (if known)            20-01495
              Name

 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $279.27
           WATCHES4U                                                            Contingent
           CALLE 65 DE INFATERIA                                                Unliquidated
           SECTOR PUEBLO NUEVO                                                  Disputed
           Sabana Grande, PR 00637
                                                                             Basis for the claim:    SUPPLIES
           Date(s) debt was incurred
           Last 4 digits of account number      9999                         Is the claim subject to offset?      No       Yes


 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $620.00
           YAMILETTE VELEZ GONZALEZ MD                                          Contingent
           BO BALBOA                                                            Unliquidated
           ARENAL 21                                                            Disputed
           Mayaguez, PR 00682
                                                                             Basis for the claim:    PROFESSIONAL SERVICES
           Date(s) debt was incurred
           Last 4 digits of account number      1776                         Is the claim subject to offset?      No       Yes


 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,024.12
           ZYZON LABORATORY SUPPLIES                                            Contingent
           PO BOX 2081                                                          Unliquidated
           Aguada, PR 00602                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
           Last 4 digits of account number      1209
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any
 4.1       LCDA LOURDES GANDARILLA TRABAL
           DPT TRABAJO EDIF PRUDENCIO MARTINEZ                                                        Line     3.10
           AVE MUNOZ RIVERA 505
                                                                                                             Not listed. Explain
           San Juan, PR 00908

 4.2       LCDA MARIA DEL C GITANY ALONSO
           PO BOX 3898                                                                                Line     3.31
           Mayaguez, PR 00681-3898
                                                                                                             Not listed. Explain

 4.3       LCDA. ADA MARTINEZ RABASSA
           AVE LAS AMERICAS                                                                           Line     3.33
           BLVD LUIS A FERRE 2174
                                                                                                             Not listed. Explain
           Ponce, PR 00717

 4.4       LCDO EITON ARROYO MUNIZ
           153 CALLE ERINQUE VAZQUEZ BAEZ                                                             Line     3.15
           Mayaguez, PR 00681
                                                                                                             Not listed. Explain

 4.5       LCDO. ANGEL ALINEA PARES
           COND EL CENTRO I SUITE 211                                                                 Line     3.33
           San Juan, PR 00918
                                                                                                             Not listed. Explain

 4.6       LCDO. EFRAIN DIAZ CARRASQUILLO
           PASEO LAS COLONIAS 1705                                                                    Line     3.33
           URB. VISTA ALEGRE
                                                                                                             Not listed. Explain
           Ponce, PR 00717


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 8
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           Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                             Desc: Main
                                     Document Page 15 of 26
 Debtor       COLONIAL MEDICAL MANAGEMENT CORP                                                    Case number (if known)       20-01495
              Name

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                          0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                  1,370,554.51

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                    1,370,554.51




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 8 of 8
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                       Desc: Main
                                    Document Page 16 of 26
 Fill in this information to identify the case:

 Debtor name         COLONIAL MEDICAL MANAGEMENT CORP

 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number (if known)         20-01495
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                   Desc: Main
                                    Document Page 17 of 26
 Fill in this information to identify the case:

 Debtor name         COLONIAL MEDICAL MANAGEMENT CORP

 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number (if known)         20-01495
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      JORGE                             URB. CONSTANCIA                                   MUNICIPIO DE                       D
             ANGLERO                           AVE LAS AMERICAS 2746                             ANASCO                             E/F       3.31
             ALFARO, MD                        PR 00711
                                                                                                                                    G




    2.2      PABLO                                                                               MUNICIPIO DE                       D
             SERRANO                                                                             ANASCO                             E/F       3.31
             HERNANDEZ
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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           Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                              Desc: Main
                                     Document Page 18 of 26



 Fill in this information to identify the case:

 Debtor name         COLONIAL MEDICAL MANAGEMENT CORP

 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number (if known)         20-01495
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                               $283,342.96
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $793,888.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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           Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                   Desc: Main
                                     Document Page 19 of 26
 Debtor       COLONIAL MEDICAL MANAGEMENT CORP                                                          Case number (if known) 20-01495



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    POPULAR AUTO LLC VS                               COLLECTION OF              MAYAGUEZ COURT                               Pending
               COLONIAL MEDICAL                                  MONEY                                                                   On appeal
               MANAGEMENT CORP
                                                                                                                                         Concluded
               I2CI2017-0001

       7.2.    SECRETARIO DEL TRABAJO                            LABOR CLAIM                MAYAGUEZ                                     Pending
               Y REC HUMANOS VS.                                                                                                         On appeal
               COLONIAL MEDICAL
                                                                                                                                         Concluded
               MANAGEMENT CORP
               I1CI2017-00352

       7.3.    MUNICIPIO DE ANASCO VS.                           EVICTION AND               MAYAGUEZ SUPERIOR                            Pending
               COLONIAL MEDICAL                                  COLLECTION OF              COURT                                        On appeal
               MANAGEMENT CORP                                   MONEY
                                                                                                                                         Concluded
               ISCI2017-00629

       7.4.    HENRY SUAREZ RAMOS VS.                            MALPRACTICE                MAYAGUEZ COURT                               Pending
               COLONIAL MEDICAL                                                                                                          On appeal
               MANAGEMENT CORP
                                                                                                                                         Concluded
               ISCI2016-00886

       7.5.    LEASE OPTION COMPANY                              COLLECTION OF              PONCE COURT                                  Pending
               VS. COLONIAL MEDICAL                              MONEY                                                                   On appeal
               MANAGEMENT
                                                                                                                                         Concluded
               JCD2015-0219

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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           Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                 Desc: Main
                                     Document Page 20 of 26
 Debtor        COLONIAL MEDICAL MANAGEMENT CORP                                                             Case number (if known) 20-01495



               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.6.    ORIENTAL BANK VS.                                 COLLECTION OF                CIALES COURT                                Pending
               COLONIAL MEDICAL                                  MONEY AND                                                                On appeal
               MANAGEMENT CORP ET ALS                            FORECLOSURE
                                                                                                                                          Concluded
               TQ2016-170

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                               Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss               Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    LAW AND JUSTICE FOR ALL
                PO BOX 13268                                         $335.00 FOR FILING FEES; $2,165.00 FOR
                San Juan, PR 00908                                   LEGAL FEES                                                1/15/2020                      $2,500.00

                Email or website address
                1611lawandjustice@gmail.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
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           Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                              Desc: Main
                                     Document Page 21 of 26
 Debtor        COLONIAL MEDICAL MANAGEMENT CORP                                                          Case number (if known) 20-01495




           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer              Total amount or
               Address                                           payments received or debts paid in exchange             was made                            value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care
       15.1.     CENTRO DIAGNOSTICO Y                            MEDICAL DIAGNOSTIC AND TREATMENT CENTER                                 25000
                 TRATAMIENTO ANASCO
                 CARRETERA 402 KM 1.8
                                                                 Location where patient records are maintained (if different from        How are records kept?
                 ZONA INDUSTRIAL                                 facility address). If electronic, identify any service provider.
                 BO. LAS MARIAS                                  EDIFICIO CENTRO CARIBE, SUITE 205 PONCE BY                              Check all that apply:
                 Anasco, PR 00610                                PASS, PONCE PR
                                                                 OFFICE OF DR. LUIS J. LUGO VELEZ
                                                                 LAW REQUIRES TO MANTAIN RECORDS FOR SIX
                                                                 YEARS
                                                                                                                                            Electronically
                                                                                                                                            Paper


 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 4
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                             Desc: Main
                                    Document Page 22 of 26
 Debtor      COLONIAL MEDICAL MANAGEMENT CORP                                                           Case number (if known) 20-01495



                  NAME, ADDRESS, MEDICAL PLAN, BLOOD TYPE, HEALTH
                  CONDITIONS. HIPAA PROTECTED INFORMATION MEDICAL
                  FACILITY
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                                   Desc: Main
                                    Document Page 23 of 26
 Debtor      COLONIAL MEDICAL MANAGEMENT CORP                                                           Case number (if known) 20-01495




      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       EDUARDO OJEDA FIGUEROA CPA                                                                                                 2014 TO 2019
                    OJEDA CPA GROUP
                    PMB 204 BOX 7105
                    Ponce, PR 00732

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                             Desc: Main
                                    Document Page 24 of 26
 Debtor      COLONIAL MEDICAL MANAGEMENT CORP                                                           Case number (if known) 20-01495



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       LUIS LUGO VELEZ                                PO BOX 712                                          PRESIDENT AND                         33 %
                                                      Mercedita, PR 00715-0712                            TREASURER                             APPROXIMAT
                                                                                                                                                ELY
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       JORGE ANGLERO ALFARO                           URB CONSTANCIA                                      GENERAL PARTNER                       33%
                                                      AVE LAS AMERICAS 2746
                                                      Ponce, PR 00717
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       DAVID ALICEA                                   HC-37 BOX 5377                                      SECRETARY                             NONE
       HERNANDEZ                                      Guanica, PR 00653

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       PABLO SERRANO                                                                                                                            33%
       HERNANDEZ



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                                             Desc: Main
                                    Document Page 25 of 26
 Debtor      COLONIAL MEDICAL MANAGEMENT CORP                                                           Case number (if known) 20-01495




            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 26, 2020

 /s/ LUIS JORGE LUGO VELEZ                                              LUIS JORGE LUGO VELEZ
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         PRESIDENT

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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          Case:20-01495-BKT7 Doc#:12 Filed:05/24/20 Entered:05/24/20 15:19:45                                     Desc: Main
                                    Document Page 26 of 26




                                                               United States Bankruptcy Court
                                                                     District of Puerto Rico
 In re      COLONIAL MEDICAL MANAGEMENT CORP                                                     Case No.   20-01495
                                                                                Debtor(s)        Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the PRESIDENT of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 26, 2020                                          /s/ LUIS JORGE LUGO VELEZ
                                                                     LUIS JORGE LUGO VELEZ/PRESIDENT
                                                                     Signer/Title




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